            Case 5:24-cv-00461-JD Document 19 Filed 06/27/24 Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

1. STATE OF OKLAHOMA

                          Plaintiff,

v.

1. MIGUEL CARDONA, in his
   official capacity as the Secretary of        Case No.     24-CV-00461-JD
   Education; and

2. UNITED STATES DEPARTMENT
   OF EDUCATION;

                          Defendants.


PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMIT

       Plaintiff, the State of Oklahoma, respectfully requests an Order permitting it to file

a Motion for Preliminary Injunction and Opening Brief in Support (“Motion for

Preliminary Injunction”) in excess of the page limitation set forth in LCvR 7.1(e). In

support of its Motion, Plaintiff alleges and states as follows:

       1.      Plaintiff filed its Complaint on May 6, 2024 [Dkt. 1]. Plaintiff intends to

file a Motion for Preliminary Injunction on June 28, 2024, requesting that a Final Rule

published in the Federal Register, Nondiscrimination on the Basis of Sex in Education

Programs or Activities Receiving Financial Assistance, 89 Fed. Reg. 33,474 (Apr. 29,

2024), be enjoined from going into effect on August 1, 2024.

       2.      LCvR 7.1(e) states that briefs submitted to this Court shall not exceed 25

pages unless otherwise authorized by the Court.
              Case 5:24-cv-00461-JD Document 19 Filed 06/27/24 Page 2 of 4




         3.      Plaintiff is preparing to file its Motion for Preliminary Injunction and

anticipates that the final brief will be approximately thirty (30) pages, exceeding the limit

by five (5) pages. Plaintiff is making every effort to be as concise as possible, but

requests leave for additional pages to more thoroughly address numerous legal issues

presented by the Final Rule.

         4.      Defendants have been served with the Summons and Complaint in this

matter but have not yet entered an appearance. However, counsel for Plaintiff has

contacted the attorney in the Department of Justice who will represent Defendants, and

Defendants do not object to the relief requested herein.

         WHEREFORE, Plaintiff respectfully requests leave to file its Motion for

Preliminary Injunction in excess of twenty-five (25) pages, but not to exceed thirty (30)

pages.


                                                  Respectfully submitted,


                                                  /s/ Barry G. Reynolds
                                                  Garry M. Gaskins, II, OBA # 20212
                                                  Solicitor General
                                                  Zach West, OBA # 30768
                                                  Director of Special Litigation
                                                  OFFICE OF ATTORNEY GENERAL
                                                  STATE OF OKLAHOMA
                                                  313 N.E. 21st St.
                                                  Oklahoma City, OK 73105
                                                  Phone: (405) 521-3921
                                                  Garry.Gaskins@oag.ok.gov
                                                  Zach.West@oag.ok.gov

                                                  AND



                                             2
Case 5:24-cv-00461-JD Document 19 Filed 06/27/24 Page 3 of 4




                                 Barry G. Reynolds, OBA # 13202
                                 R. Tom Hillis, OBA # 12338
                                 J. Miles McFadden, OBA # 30166
                                 TITUS HILLIS REYNOLDS LOVE, P.C.
                                 15 E. 5th St., Suite 3700
                                 Tulsa, OK 74103
                                 Phone: (918) 587-6800
                                 Fax: (918) 587-6822
                                 reynolds@titushillis.com
                                 thillis@titushillis.com
                                 jmcfadden@titushillis.com

                                 ATTORNEYS FOR PLAINTIFF,
                                 THE STATE OF OKLAHOMA




                             3
          Case 5:24-cv-00461-JD Document 19 Filed 06/27/24 Page 4 of 4




                             CERTIFICATE OF SERVICE

       This is to certify that on this 27th day of June 2024, the foregoing instrument was

electronically filed with the Clerk of the Court by using the CM/ECF system. Since

counsel for the Defendants have yet to enter an appearance in this matter, Plaintiff’s

Counsel will serve a copy of this motion on the Defendants in accordance with F.R.C.P.

4(i) at the following addresses:

Miguel Cardona, Secretary of Education          United States Department of Education
United States Department of Education           400 Maryland Ave. SW
400 Maryland Ave. SW                            Washington, D.C. 20202
Washington, D.C. 20202
                                                United States Department of Education
Miguel Cardona, Secretary of Education          c/o Robert J. Troester, US Attorney for
c/o Robert J. Troester, US Attorney for          Western District of Oklahoma
 Western District of Oklahoma                   210 Park Ave., Ste. 400
210 Park Ave., Ste. 400                         Oklahoma City, OK 73102
Oklahoma City, OK 73102
                                                United States Department of Education
Miguel Cardona, Secretary of Education          c/o Merrick Garland, US Attorney
c/o Merrick Garland, US Attorney                General
General                                         U.S. Department of Justice
U.S. Department of Justice                      950 Pennsylvania Ave. NW,
950 Pennsylvania Ave. NW,                       Washington, DC 20530
Washington, DC 20530



                                                 /s/ Barry G. Reynolds
                                                Barry G. Reynolds




                                            4
